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                        IN THE UNITED STATES DISTRICT COURT                          p
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                      p
MARCOS DANIEL SULLA HUAYNA                                                                   JUL 1 5
3770 Bel Pre Road
Silver Spring, Maryland                                                                   CLERK, U.S. DISTRICT CUUttl
                                                                                                          VIRGINIA


       PLAINTIFF,

               V.                                              Case No:


BEEREN & BARRY INVESTMENTS, LLC
11654 Plaza America Drive, Suite 653
Reston, Virginia 20190

SERVE: Chris Beatley
221 S. Fayette Street
Alexandria, Virginia 22314                             *
                                                       *


       DEFENDANT                                       *


                                           COMPLAINT


       Plaintiff Marcos Daniel Sulla Huayna ("Plaintiff), by and through undersigned counsel,

hereby submits Complaint against Defendant Beeren & Barry Investments, LLC ("Defendant"),

to recover unpaid wages, liquidated damages, reasonable attorney's fees and costs under Section

16(b) of the Federal Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201 et seq.

(hereinafter "FLSA").

                                    PARTIES AND JURISDICTION


        1.     Plaintiff is an adult resident of the State of Maryland and by acting as named

plaintiff in this action does hereby affirm his consent to participate as a plaintiff in an action

under the FLSA.


        2.     Defendant is a limited liability company formed under the laws of the

Commonwealth of Virginia with a primary office location located in Fairfax County, Virginia.
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        3.     At all times relevant to this action. Defendant had gross annual revenues

exceeding $500,000.00.

        4.     At all times. Defendant operated across state lines, used in business operations

materials that originated from outside the Commonwealthof Virginia, and otherwise engaged in

interstate commerce such that Defendant qualified as an enterprise within the meaning of the

FLSA.


                                             FACTS


        5.     Plaintiff were employed by Defendant to perform remodeling and related

construction and laborer work duties in Virginia and surrounding states for the time period of

about January 2011 through about March 15, 2015.

        6.     At all times. Defendant controlled all aspects of Plaintiffs work duties, told

Plaintiff exactly what work duties to perform, supervised Plaintiffs work, retained the ability to

discipline and ultimately terminate Plaintiffs employment, enforced general employment rules

and procedures, provided Plaintiff with work materials, and set Plaintiffs pay and schedule such

that Plaintiff was not able to come and go when Plaintiff wished but rather could only commence

and conclude employment work duties at the direction of Defendant.

        7.     At all times, Defendant set Plaintiffs rate and method of pay at a pre-set hourly

rate. As such. Plaintiff had no ability or opportunity to earn additional profit or income by

working more efficiently or earn more income if Defendant was operating more profitably.

        8.     At all times, all major equipment necessary for Plaintiff to perform job

employment duties (like a paint machine) was supplied by Defendant at Defendant's expense.

Plaintiff made no financial investment in equipment or materials belonging to Defendant that he

used to perform employment duties for Defendant's benefit.
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       9.      The remodeling and related construction and laborer duties Plaintiff performed for

Defendant did not require any special level of education or advanced degree or certificate.

       10.     Plaintiff did not perform sparse, inconsistent, or ad hoc work for Defendant.

Rather, Plaintiffwas employed full time and continuously by Defendant for a period of many

years for which Defendant paid Plaintiffat a pre-set regular hourly regular hourly rate on pre-set

pay dates.

        11.    At all times. Plaintiff performed remodeling and construction and laborer related

job duties that served as an integral role in Defendant's business operation.

        12.    Based on the economic realities of Plaintiffs employment relationship with

Defendant, at all times. Plaintiff was an employee under the FLSA and was never an independent

contractor.


        13.    At all times. Defendant paid Plaintiff on an hourly basis. For the time period of

aboutJanuary 2011 through about June 2013, Defendant paid Plaintiffat the rate of about$13.00

per hour. Thereafter, from aboutJuly 2013 through about March 15,2015, Defendant paid

Plaintiff at the rate of about $15.00 per hour.

        14.    During Plaintiffs employment. Plaintiffs exact hours worked varied slightly

from week to week.


        15.    During Plaintiffs employment. Plaintiff regularly worked more than forty (40)

hours per week.

        16.    During Plaintiffs employment. Plaintiff often worked more than fifty (50) hours

per week.

        17.     During Plaintiffs employment. Plaintiff occasionally worked more than sixty (60)

hours per week.
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       18.     At all times. Defendant had actual knowledge of all hours Plaintiff worked and

directed Plaintiff to work all hours herein alleged.

        19.    At no time during Plaintiffs employment did Defendant pay Plaintiff at the rate

of one-and-one half (Wi) times Plaintiffs regular rate of pay for overtime hours worked each

week in excess of forty (40).

       20.     At no time did Plaintiff did not perform work duties that meets the definition of

exempt work under the FLSA.

       21.     At no time during Plaintiffs employment did Defendant believe that Plaintiff

performed work duties the meet the definition of exempt work under the FLSA.

       22.     At all times during Plaintiffs employment. Defendant had actual knowledge that

Federal law required that Plaintiff must have been paid at the rate of one-and-one half (Wi) times

Plaintiffs regular rate of pay for overtime hours worked each week in excess of forty (40).

        23.    At all times. Defendant had actual knowledge that the rate and method by which

Defendant paid Plaintiff (or failed to pay Plaintiff) for overtime hours was in direct violation of

Federal law.


        24.    At all times, Defendant (1) misclassified Plaintiff as a contractor; (2) told Plaintiff

he was not entitled to overtime wages under Federal law; and (3) did not post in a prominent

place at Defendant's business a notice of Plaintiff s Federal overtime wage rights or any means

to enforce these rights. As such. Plaintiffs claims alleged herein must be tolled for the entirety

of Plaintiffs period of employment entitling Plaintiff to a recovery in this action of unpaid

wages in the approximate amount of $15,125.00 calculated as follows:
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                                                                                      "Half
                                                        Overtime      Rate            Time"                           Wages
                Total          Regular Hours            Hours         Required Owed Per Wages                         Owed for
Time            Recovery Hourly           Worked        Worked        for             Overtime Owed Per               Time
Period          Weeks          Rate       Per Week Per Week Overtime Hour                             Week            Period


January
2011-June
2013                     130     $13.00            50            10          $19.50           $6.50          $65.00     $8,450.00


July 2013-
March 15,
2015                      89     $15.00            50            10          $22.50           $7.50          $75.00     $6,675.00

                                                                                                      TOTAL
                                                                                                      UNPAID
                                                                                                      WAGES            $15,125.00




                                               CAUSE OF ACTION
                        (Violation of Federal Fair Labor Standards Act- Overtime)

          25.       Plaintiffre-alleges and reasserts each and every allegation set forth above as if
each were set forth herein.

          26.       Section 207(a)(l) ofthe FLSA provides that "no employer shall employ any of
his employees...for a workweek longer than forty (40) hours unless such employee receives
compensation for his employment in excess ofthe hours above specified at arate not less than
one-and-one-half (l'/2) times the regular rate at which he is employed."

          27.       As set forth above, while in Defendant's employ. Plaintiff regularly and

customarily worked overtime in excess of forty (40) hours perweek.
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       28.     As set forth above, while in Defendant's employ. Defendant failed to compensate

Plaintiffat the FLSA required overtime rate equal to one-and-one-half {VA) times Plaintiffs

regularly hourly rate for all overtime hours worked each week.

       29.     Defendant's failure to pay Plaintiff as required by the FLSA was willful and

intentional, and was not in good faith.

       WHEREFORE, Defendant is liable to Plaintiff for all unpaid overtime wages in such an

amount as is proven at trial, plusan equal amount in liquidated damages, interest (both pre- and

post-judgment), reasonable attorney's fees, the costs of this action, and any other and further

relief this Court deems appropriate.

                                                 Respectfully submitted.



                                                 Gregg C. Gfeenberg, Bar No. 79(
                                                 Zipin, Amster & Greenberg, ySX-
                                                 8575 Georgia Avenue, Suite 400
                                                 Silver Spring, Maryland 20910
                                                 Phone: 301-587-9373
                                                 Fax:   301-587-9397
                                                  Email; ggreenberg@,zagfirm.com

                                                  Counselfor Plaintiff
